Case 2:02-cV-02958-STA-egb Document 127 Filed 08/29/05 Page 1 of 3 Page|D 140

FH _
IN THE UNITEI) STATES DISTRICT CoURT fn 3"’ HSZ{__ D_,_:
FOR THE WESTERN DISTRICT OF TENNESSEE 95 a l 16 `
wEsTERN DIVISION 29 PH 2 l
.TL|’\|

 

  

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THOMAS P. LEWIS, Ww

Plaintiff, Civil Action No. 02-2958 (Breen)
V.

UNITED STATES OF AMERICA

l)efendant/
Third Party PlaintifT,

V.

RONALD L. EDMONDS,

‘_I'\_/\_V\_V\_i'di‘_¢\_i\_i‘_¢\_i'~_f'\d\_¢\_lv

Third Party Defendant.

 

ORDER ON PLAINTIFF’S MOTION FOR LEAVE T() SUPPLEMENT PLAINTIFF’S
MEMORANDUM OPPOSING UNITED STATES’ MOTI()N FOR SUMMARY
JUDGMENT AND CROSS MOTION AND MEMORANDUM
FOR SUMMARY JUDGMENT

 

Upon Motion of Plaintiff, Thomas P. Lewis, filed en this & day Of August, 2005, and
for good cause shown, this Court GRANTS the Motion of Plaintiff for Leave to Supplement
Plaintiff’s Memorandum Opposing United States’ Motion for Summary Judgment and Cross
Motion and Memorandurn for Summary Judgment and ORDERS that Plaintiff` may submit a
supplemental Memorandum Opposing United States’ Motion for Surnrnary Judgment and Cross
Motion by no later than Friday, September 9, 2005_

SO ORDERED this l_°|q\day of August, 2005.

I F:D STATES DISTRICT JUDGE
_ `©
Dated this 2d1 day of August, 2005.

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Honorable .1. Breen
US DISTRICT COURT

